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IN THE UNITED sTATES DISTRICT COURT 95 JUH 17 PM 3= 31
FOR THE WESTERN DISTRICT 0F TENNESSEELHOBFH» .
WESTERN DIVISION CLt-:Pie<f :.?Ti;.l‘i§i;§?@i“§?
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LUTRICIA BARNETT BUCKLEY, as
Adrninistratrix of the Estate of DENVEY
BUCKLEY, for the use and benefit Of
KATRINA LATRICE BUCKLEY and
NICOLE MARIA BUCKLEY, as Next of

Kin and Heirs at law of DENVEY BUCKLEY,
deceased,

Plaintiffs, Case No.: 03-2874 D P

VS.

CITY OF MEMPHIS, THE CITY OF MEMPHIS
POLICE DIVISION, OFFICER PHILL[P PENNY,
OFFICER KURTIS SCHILK, OFFICER ROBERT
G. TEBBETTS, individually and in their
Representative Capacities as City of Mernphis
Police Division Offlcers.

\_,/\_/\_/H_/\_/\./\_/W\_/\_/\_/\_/\_/\_/\./\.,/\_/\_/

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff Lutricia Bamett Buckley Motion for an Order to Show Cause
Why Khary Earnest Should Not Be Held in Contempt for Failure to Comply With a Valid Subpoena
filed on lime 16, 2005, in this case.

This matter is hereby referred to the United States l\/Iagistrate Judge for a Report and

Recoinmendation. Any exceptions to the Magistrate Judge’s order shall be made by motion Within

This document entered on the docket hee ’n complianc
with Hule 58 and/or 79{a) FRCP on 12 /§ o -'§ 25

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ten (l ()) days of the erder. Further, all exceptions shall be stated With particularity

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4 ICE B. I)oNALD
U ITED sTATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number l68 in
case 2:03-CV-02874 Was distributed by faX, mail, or direct printing on
June 20, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

